Case 4:07-cv-05944-JST Document 2198-1 Filed 11/06/13 Page 1 of 74




              EXHIBIT 1
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page1    2 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page2    3 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page3    4 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page4    5 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page5    6 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page6    7 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page7    8 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Page
                                                     Page8    9 of 74
                                                           of 73
CaseCase3:11-cv-06276-SC
    4:07-cv-05944-JST Document 2198-1Filed11/14/11
                         Document1      Filed 11/06/13 Page
                                                     Page9 of 10
                                                              73 of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof11
                                                     Page10    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof12
                                                     Page11    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof13
                                                     Page12    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof14
                                                     Page13    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof15
                                                     Page14    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof16
                                                     Page15    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof17
                                                     Page16    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof18
                                                     Page17    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof19
                                                     Page18    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof20
                                                     Page19    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof21
                                                     Page20    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof22
                                                     Page21    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof23
                                                     Page22    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof24
                                                     Page23    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof25
                                                     Page24    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof26
                                                     Page25    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof27
                                                     Page26    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof28
                                                     Page27    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof29
                                                     Page28    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof30
                                                     Page29    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof31
                                                     Page30    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof32
                                                     Page31    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof33
                                                     Page32    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof34
                                                     Page33    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof35
                                                     Page34    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof36
                                                     Page35    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof37
                                                     Page36    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof38
                                                     Page37    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof39
                                                     Page38    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof40
                                                     Page39    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof41
                                                     Page40    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof42
                                                     Page41    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof43
                                                     Page42    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof44
                                                     Page43    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof45
                                                     Page44    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof46
                                                     Page45    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof47
                                                     Page46    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof48
                                                     Page47    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof49
                                                     Page48    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof50
                                                     Page49    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof51
                                                     Page50    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof52
                                                     Page51    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof53
                                                     Page52    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof54
                                                     Page53    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof55
                                                     Page54    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof56
                                                     Page55    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof57
                                                     Page56    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof58
                                                     Page57    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof59
                                                     Page58    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof60
                                                     Page59    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof61
                                                     Page60    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof62
                                                     Page61    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof63
                                                     Page62    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof64
                                                     Page63    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof65
                                                     Page64    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof66
                                                     Page65    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof67
                                                     Page66    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof68
                                                     Page67    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof69
                                                     Page68    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof70
                                                     Page69    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof71
                                                     Page70    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof72
                                                     Page71    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof73
                                                     Page72    73of 74
CaseCase3:11-cv-06276-SC
     4:07-cv-05944-JST Document 2198-1
                         Document1       Filed 11/06/13
                                     Filed11/14/11      Pageof74
                                                     Page73    73of 74
